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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF RHODE ISLAND

IN RE: KIM ZIEGELMAYER                                                       Chapter 7
              Debtor                                                         BK No: 17-11357
                                                                             A.P. No. 19-01020
         CHARLES A. PISATURO, JR. TRUSTEE,
              Plaintiff

                   v.

         SUNFLOWER REAL ESTATE, LLC
         KIM ZIEGELMAYER AND
         LYNDA L. GLYNN,
                Defendants

                     MOTION TO EXTEND TIME TO FILE ANSWER

       Now comes the Defendant, Kim Ziegelmayer, in the above entitled matter and requests
that the Court extend the deadline in which to file an answer to the pending adversary proceeding
for an additional 30 days. In support of said request counsel states that he has just been retained
by the Defendant, Kim Ziegelmayer, and needs a reasonable amount of time to meet with the
client and thereafter respond to the complaint.

       WHEREFORE, Debtor prays that his motion be granted and that the Court extend the
deadline to file an answer to the adversary complaint through July 22, 2019.

                                                      KIM ZIEGELMAYER
                                                      by her Attorney,

                                                       /s/Christopher Lefebvre
                                                       P. O. Box 479
                                                       Pawtucket, RI 02862
                                                       Bar Code #4019
                                                       (401)728-6060
Within fourteen (14) days after service, if served electronically, as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by mail or other
excepted means specified, any party against whom such paper has been served, or any other
party who objects to the relief sought, shall serve and file an objection or other appropriate
response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster Street, 6th
Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is timely filed,
the paper will be deemed unopposed and will be granted unless: (1) the requested relief is
forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of the
Court, the interest of justice requires otherwise.
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                              CERTIFICATION OF SERVICE

        I hereby certify that on June 20, 2019, I electronically filed a Motion to Extend Time to
file answer to the adversary proceeding with the Clerk of the Bankruptcy Court for the District of
Rhode Island using the CM/ECF System. The following participants have received notice
electronically: Office of the U.S. Trustee, and Charles A. Pisaturo, Jr., Esq.; I hereby certify
that I have mailed by United States Postal Service, postage pre-paid, the document and a copy of
the Notice of Electronic Filing to the following non CM/ECF participants: None

                                                            /s/Maria J. Ferreira
